         Case 1:18-cv-01148-TSC Document 18 Filed 10/16/18 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                     )
NOVENERGIA II – ENERGY &                             )
ENVIRONMENT (SCA),                                   )
                                                     )
                                                     )
                      Petitioner,                    )
                                                     )    Civil Action No. 1:18-cv-1148
               v.                                    )
                                                     )    ORAL HEARING REQUESTED
THE KINGDOM OF SPAIN,                                )
                                                     )
                                                     )
                      Respondent.                    )
                                                     )


          MOTION OF THE KINGDOM OF SPAIN TO DISMISS AND TO
     DENY PETITION FOR CONFIRMATION OF FOREIGN ARBITRAL AWARD

       Respondent the Kingdom of Spain (“Spain”), by and through its undersigned counsel,

hereby moves to dismiss Petitioner Novenergia II – Energy & Environment (SCA)

(“Novenergia”)’s Petition to Confirm Foreign Arbitral, with prejudice, pursuant to Federal Rules

of Civil Procedure 12(b)(1), (2) and (6) and 9 U.S.C. § 207. In the alternative, Spain requests an

order staying these proceedings pursuant to 9 U.S.C. § 12 and Article VI of the 1958 Convention

on the Recognition of Foreign Arbitral Awards, June 10, 1958, 21 U.S.T. 2517, 330 U.N.T.S. 38.

Pursuant to Local Civil Rule 7(m), counsel for Spain has conferred with counsel for Novenergia

regarding Spain’s alternative request for a stay; counsel for Novenergia stated that it opposes

Spain’s request.

       Pursuant to Local Civil Rule 7(f), Spain respectfully requests that the Court schedule an

oral hearing on its motion.

       This motion is based upon the accompanying Memorandum of Law in Support of Motion

to Dismiss and to Deny Petition for Confirmation of Foreign Arbitral Award and the




                                                 1
          Case 1:18-cv-01148-TSC Document 18 Filed 10/16/18 Page 2 of 2



Declarations of Pontus Ewerlöf, Steffen Hindelang, Stefan Lindskog, and Nicholas Renzler, and

the exhibits attached thereto, filed concurrently with this motion.



       WHEREFORE, Spain respectfully requests that its motion to dismiss and to deny

confirmation be granted.



Dated: October 16, 2018                       Respectfully submitted,

                                              KINGDOM OF SPAIN

                                              By its attorneys,
                                              /s/ Derek C. Smith
                                              Derek C. Smith (D.C. Bar No. 468674)
                                              dcsmith@foleyhoag.com
                                              Lawrence H. Martin (D.C. Bar No. 476639)
                                              lmartin@foleyhoag.com
                                              Nicholas M. Renzler (D.C. Bar No. 983359)
                                              nrenzler@foleyhoag.com
                                              Diana Tsutieva (D.C. Bar No. 1007818)
                                              dtsutieva@foleyhoag.com
                                              FOLEY HOAG LLP
                                              1717 K Street, NW
                                              Washington, DC 20006-5350
                                              Tel: 202-223-1200
                                              Fax: 202-785-6687

                                              Andrew Z. Schwartz (pro hac vice application
                                                 pending)
                                              aschwartz@foleyhoag.com
                                              Andrew B. Loewenstein (pro hac vice application
                                                 pending)
                                              aloewenstein@foleyhoag.com
                                              FOLEY HOAG LLP
                                              Seaport West
                                              155 Seaport Boulevard
                                              Boston, MA 02210-2600
                                              Tel: 617-832-1000
                                              Fax: 617-832-7000

                                              Attorneys for Respondent



                                                 2
